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                                   7                                   UNITED STATES DISTRICT COURT

                                   8                                  NORTHERN DISTRICT OF CALIFORNIA

                                   9
                                         ROBERT CRAGO, et al.,
                                  10                                                        Case No. 16-cv-03938-RS
                                                        Plaintiffs,
                                  11
                                                 v.                                         ORDER DIRECTING CLOSURE OF
                                  12                                                        CASE
Northern District of California
 United States District Court




                                         CHARLES SCHWAB & CO., INC., et al.,
                                  13
                                                        Defendants.
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                                  16          This action has been ordered to arbitration under the terms of a written agreement between

                                  17   the parties and the action has been stayed. The Clerk of the Court is directed to close the case for

                                  18   administrative purposes. Any party may reopen the court proceedings if appropriate and necessary

                                  19   to do so upon conclusion of the arbitration.

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                                  21   IT IS SO ORDERED.

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                                  23   Dated: March 30, 2023

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                                                                                        RICHARD SEEBORG
                                  25                                                    Chief United States District Judge
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